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EXHIBIT 2
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RECEIVED

UNITED STATES DISTRICT COURT

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MIDDLE DISTRICT OF FLORIDA 12. SCT 15 Fil d-

TAMPA DIVISION eine
a eve lt ett LuaivA
TERRY GENE BOLLEA professionally Case No.
known as HULK HOGAN,
Plaintiff, cc |
Bry a ev7t d 2+ TOK

¥;

GAWKER MEDIA, LLC aka GAWKER |
MEDIA; GAWKER MEDIA GROUP, INC.
aka GAWKER MEDIA; GAWKER
ENTERTAINMENT, LLC; GAWKER
TECHNOLOGY, LLC; GAWKER SALES, -
LLC; NICK DENTON; A.J. DAULERIO;
KATE BENNERT, BLOGWIRE HUNGARY
SZELLEMI] ALKOTAST HASZNOSITO
KFT aka GAWKER MEDIA

Defendants.

COMPLAINT AND DEMAND FOR |.
JURY TRIAL WITH INJUNCTIVE RELIEF SOUGHT

Plaintiff Terry Gene Bollea (“Plaintiff or “Bollea”), professionally known as “Hulk
Hogan,” sues defendants Gawker Media, LLC aka Gawker Media, Gawker Media Group,
Inc. aka Gawker Media, Gawker Entertainment, LLC, Gawker Technology, LLC, Gawker
Sales, LLC, Nick Denton, A.J. Daulerio, Kate Bennert, Blogwire Hungary Szellemi Alkotast

Hasznosito KFT aka Gawker Media (collectively, “Defendants”) and alleges as follows:

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NATURE OF THIS ACTION

lis Defendants have engaged in intentional, outrageous, irresponsible and
despicable conduct by posting to the Internet on or about October 4, 2012, excerpts (herein
the “Video Excerpts”) of a secretly-taped video depicting Plaintiff engaged in private
consensual sexual relations with a woman in a private bedroom (the “Video”). Defendants

posted the Video Excerpts at their website www.Gawker.com (the “Gawker Site”).

Defendants posted the Video Excerpts for the public to view, for the purpose of obtaining
tremendous financial benefit for themselves, including without limitation (a) the sale of
advertisements at the Gawker Site to viewers of the webpage with a link to the Video
Excerpts, and (b) attracting new viewers to the Gawker Site for the long-term financial
benefit of Defendants and al] of their affiliated websites, and additional revenues from the
substantial new viewers brought thereto by the Video Excerpts.

a Plaintiff had no knowledge that the intimate activity depicted in the Video
were being recorded. To the contrary, Plaintiff believed that such activity was completely
private, and Plaintiff had a rensonsihle expectation of his privacy in his intimate activities and
reasonably believed that his privacy was safe and protected.

3. Defendants’ posting of the Video Excerpts at the Gawker Site constitutes a
shameful and outrageous invasion of Plaintiff 5 right of privacy by a group of loathsome
Defendants who have no regard for human dignity and care only about maximizing their
revenues and profits at the expense of all others.

4, This lawsuit was necessitated by Defendants’ blatant violation of Plaintiffs

right of privacy; their wrongful disclosure of the private acts depicted in the Video; their

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unauthorized commercial exploitation of Plaintiff's name, image, identity and persona; their
refusal to remove the Video Excerpts when Plaintiff repeatedly requested and demanded its
removal from the Gawker Site; and other calculated wrongful and tortious conduct’as
described herein.

5. Defendants’ malicious conduct violates Plaintiff's constitutional and common
law privacy rights, and exceeds all bounds of human decency. Defendants’ gross and
egregious intrusion into Plaintiffs privacy must be stopped, and must be punished to the

maximum extent of the law.

PLAINTIFF
6. Plaintiff Terry Gene Bollea is a resident and citizen of the State of Florida,
who lives in Pinellas County.
uh Plaintiff is a professional wrestler, motion picture actor, and television

personality who has enjoyed mainstream popularity as the character “Hulk Hogan.” Plaintiff
is a twelve-time world wrestling champion.

DEFENDANTS

8. At all relevant times, defendant Gawker Media, LLC aka Gawker Media, was
and is a limited liability company organized and operating under the laws of the State of
Delaware, with its principal place of business in New York. On information and belief, no
member of Gawker Media, LLC aka Gawker Media is a resident of the State of Florida.

5. At all relevant times, defendant Gawker Media Group, Inc. aka Gawker
Media, was and is a Cayman Islands corporation. Thus, Defendant, Gawker hdl Group, —

Inc. aka Gawker Media is a citizen of the Cayman Islands, pursuant to 28 U.S.C. 1332(c).

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10. At all relevant times, defendant Gawker Entertainment, LLC, was and is a
New York limited liability company. Thus, defendant Gawker Entertainment, LLC was and
is a citizen of New York, pursuant to 28 U.S.C. 1332(c). On information and belief, no
member of Gawker Entertainment, LLC is a resident of the State of Florida.

ll.  Atall relevant times, defendant Gawker Technology, LLC was an is a New
York limited liability company. Thus, defendant Gawker Technology, LLC was and is a
citizen of New York, pursuant to 28 U.S.C. 1332(c). On information and belief, no member
of Gawker Technology, LLC is a resident of the State of Florida.

12. At all relevant times, defendant Gawker Sales, LLC was an is a New York
limited liability company. Thus, defendant Gawker Sales, LLC was and is a citizen of New
York, pursuant to 28 U.S.C. 1332(c). On information and belief, no member of Gawker
Sales, LLC is a resident of the State of Florida.

ats Defendants Gawker Media, LLC, Gawker Entertainment, LLC, Gawker
Technology, LLC, and Gawker Sales, LLC were and are all under the control of defendant
Gawker Media Group, Inc. based in the Cayman Islands.

14, Atall relevant times, defendant Blogwire Hungary Szellemi Alkotast
Hasznosito KFT aka Gawker Media (“Blogwire Hungary”) was an is a Hungarian off-shore
company. Thus, defendant Blogwire Hungary is a citizen of Hungary, pursuant to 28 U.S.C.
1es2(4).

15. Defendant Blogwire Hungary owns the Internet domain name

GAWKER.COM.

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16. ° Defendants Gawker Media, LLC, Gawker Entertainment, LLC, Gawker
Technology, LLC, Gawker Sales, LLC, Gawker Media Group, Inc., and Blogwire Hungary
are collectively referred to herein as “Gawker Media”.

17. Gawker Media owns, operates, controls and publishes several Internet
websites, including the Gawker Site, which disseminate information worldwide via the
Internet.

18. At all relevant times, defendant Nick Denton (“Denton”) was and is a citizen
of Hungary and the United Kingdom, and is a resident and domiciliary of the State of New
York. Defendant Denton is the founder of Gawker Media and currently owns all of , ora
controlling or substantial interest in, Gawker Media.

19. At all relevant times, defendant A.J. Daulerio (“Daulerio”) was and is a
citizen, resident and domiciliary of the State of New York. Defendant Daulerio is employed
by Gawker Media as an editor and/or writer.

20. Plaintiff is informed and believes that defendant Kate Bennert (“Bennert”) is a
citizen, resident and domiciliary of the State of New York and is employed by Gawker
Media.

JURISDICTION AND VENUE

21. This is a diversity action brought pursuant to 28 U.S.C. 1332 for invasion of
privacy, intentional and negligent infliction of emotional distress, and violation of right of
publicity, among other claims. This Court has jurisdiction over these claims pursuant to 28
LES. 1332. The amount in controversy in this action exceeds $75,000 and there is

complete diversity as between Plaintiff and all Defendants.

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22. Venue lies in the Middle District of Florida pursuant to 28 U.S.C. 1391(b)(2)
because Plaintiff resides within the Middle District of Florida within the meaning of that
provision.

23. Defendants are subject to personal jurisdiction and service of process under
Florida law as follows:

a. Pursuant to Florida Statute 48.193(1)(a), by operating, conducting,
engaging in, or carrying on a business or business venture in the State of Florida and
Plaintiff's causes of action set forth below arise from this activity;

b. Pursuant to Florida Statute 48.193(1)(b), Defendants committed
tortious acts within the State of Florida and within this judicial district by, among other
things, their invasion of Plaintiffs privacy, public disclosure of private facts, violation of
Plaintiffs right of publicity, and intentional and negligent infliction of emotional distress
upon Plaintiff, as more fully described herein. Plaintiff's causes of action set forth below
arise from these tortious acts.

FACTS GIVING RISE TO THE CLAIMS

24. On or about October 4, 2012, the Gawker Site published a story entitled
“Even For a Minute, Watching Hulk Hogan Have Sex on a Canopy Bed is Not Safe For
Work, But Watch It Anyway” (the “Gawker Story”). The Gawker Story featured a link to
the Video Excerpts depicting Plaintiff having private consensual sexual relations with an
anonymous woman in a private bedroom. The Video was taken approximately six years ago
and was recorded without Plaintiff's knowledge or consent. Defendant Bennert edited the

Video into the Video Excerpts without Plaintiffs knowledge or consent. The Gawker Story

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was written and/or edited by defendant Daulerio. Plaintiff made numerous and repeated ©
demands to Gawker Media, and also directly to defendant Denton, to remove the Video
Excerpts from the Casket Site. However, Defendants failed and refused to do so.

25. Atno time prior to, during, or after the consensual sexual encounter between
Plaintiff and the woman depicted in the Video did Plaintiff ever authorize or consent to any
person or entity recording the private, intimate acts depicted in the Video, or the storage of
the Video, or the editing of the Video, or the dissemination, publishing or exploitation of the
Video in any way or manner whatsoever. On the contrary, Plaintiff finds the creation and
publishing of the Video Beek by Defendants to be outrageous and egregious. The Video
and Video Excerpts have never been authorized by Plaintiff for any purpose whatsoever,
including any form of disclosure to the public whatsoever.

26. Numerous media outlets and websites have picked up on the Gawker Story
and feature links to it, thus exposing hundreds of millions of people to the Video Excerpts.
As a natural and foreseeable consequence, massive numbers of individuals were drawn to the
Gawker Site, for which Defendants have reaped tremendous revenues and profits, and have
been unjustly enriched therefrom, based on both on the short term web traffic of millions of
people have viewed the Gawker Story and advertisements displayed thereat, and the long
term increase in viewership to the Gawker Site and Defendants’ other affiliated sites, and the
revenues and profits associated therewith for a prolonged period of time. Such tremendous
benefits are a direct result of the tremendous fame and goodwill of Plaintiff, and the public’s

interest in his life and activities.

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27. Plaintiff has devoted a tremendous amount of his time and effort to
developing his career as a professional champion wrestler, motion picture actor, and
television personality, and to developing his universal goodwill, reputation and brand. Such
efforts have created considerable commercial value in his name, image, identity and persona.

28. The commercial value of Plaintiff's name, image, identity and persona is
diminished by the unauthorized posting, publishing, distribution and dissemination of the
Video Excerpts, which is perceived unfavorably by the public and by the negative portrayal
of Plaintiff in the Video Excerpts to the general public.

29. Defendants’ conduct manifests a depraved disregard for Plaintiff's privacy
rights and an unauthorized commercial exploitation of his publicity rights.

30. Plaintiff is informed and believes and alleges thereon that unless enjoined and
restrained, Defendants will continue to post, publish, distribute, disseminate and exploit the
Video and Video Excerpts, despite Plaintiffs numerous and repeated demands that
Defendants cease and desist, and Defendants’ clear violation of Plaintiff's rights. Such
infringement and violation of Plaintiffs rights will continue to cause Plaintiff severe distress
and damage, for which there is no adequate remedy at law, if the Video and/or Video
Excerpts continue to be posted, published, distributed, disseminated and exploited by the
Defendants. Such conduct and activity has caused and will continue to cause Plaintiff to

suffer irreparable harm for which there is no adequate remedy at law.

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FIRST CAUSE OF ACTION

(Invasion of Privacy by Intrusion Upon Seclusion Against All Defendants)

31. Plaintiff repeats, re-alleges, adopts and incorporates each and every allegation
contained in Paragraphs 1] through 30 inclusive as though fully set forth herein.

32. Defendants, without Plaintiff's consent and against Plaintiff's will, have
grossly invaded Plaintiff's protected rights of privacy as recognized under the United States
Constitution, Florida Constitution, and applicable common law, by posting and publicly
disclosing the Video Excerpts depicting Plaintiff engaged in private intimate consensual
sexual relations with a woman in a private bedroom.

33. Defendants’ posting, publishing, distributing, disseminating and exploiting of
Plaintiff engaged in sexual relations in private quarters was not carried out for reasonable or
legitimate purposes, but rather to reap substantial revenues and profits and the expense of
Plaintiff and others. Plaintiff had a reasonable expectation of privacy in having private
consensual sexual relations with a woman in a private bedroom, and had no knowledge of,
and did not consent to, the recording of such private sexual activity.

34, The unauthorized publication by Defendants of the Video and Video Excerpts
is offensive and objectionable to Plaintiff, and would be offensive and obj ectionable any
reasonable person of ordinary sensibilities, and is not of legitimate public concern. Plaintiff
did not consent to any use, distribution or exploitation by Defendants, or any other persons or
entities, of the Video, Video Excerpts or any portions or content thereof, whatsoever.

35, Defendants knew or should have known that the Video and Video Excerpts

contained private and confidential information and content, and that Plaintiff had a

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reasonable expectation of privacy in the sexual activities depicted therein, and that
Defendants’ conduct would reveal private and personal things about Plaintiff which
Defendants had no right to disseminate, disclose or exploit, and that the publication of these
private facts would constitute a clear and egregious violation of Plaintiff's right of privacy.

36, Defendants violated Plaintiff's fundamental privacy rights by the conduct
alleged herein, including the outrageous intrusion into Plaintiffs privacy and the publication,
dissemination, and exnlittution of the Video and Video Excerpts in an unprivileged manner
calculated to financially capitalize therefrom, to garner publicity throughout the world, and to
unjustly enrich Defendants in conscious disregard of Plaintiffs nght of privacy.

37.  Plaintiffis informed and believes and thereon alleges that Defendants acted
with actual malice and reckless disregard of Plaintiffs right of privacy.

38. | Defendants have continued their invasion of Plaintiffs right of privacy by
continuing to disseminate and post the Video Excerpts and Gawker Story. Unless and until
enjoined and restrained by order of this Court, Defendants’ continued acts will cause Plaintiff
to continue to incur severe and irreparable injury that cannot adequately be compensated by
monetary damages. By reason of the foregoing, Plaintiff is entitled to a temporary
restraining order and preliminary and permanent injunctive relief enjoining the distribution,
dissemination and use of the Video, Video Excerpts, and all portions and content therefrom,
including without limitation all still images thereof.

39. Asa direct and proximate result of the aforementioned acts by Defendants,
Plaintiff has suffered injury, damage, loss, harm, anxiety, embarrassment, humiliation, shame

and severe emotional distress. As a direct and proximate result of the aforementioned acts by

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Defendants, Plaintiff has been damaged and will be damaged, in an amount subject to proof —
and believed to be at least One Hundred Million Dollars ($100,000,000.00).

40. Plaintiff is informed and believes and on that basis alleges that the
aforementioned acts of Defendants were done intentionally or with a conscious disregard of
Plaintiff s rights, and with the intent to vex, injure or annoy, such as to constitute oppression,
fraud, or malice, thus entitling Plaintiff to exemplary and punitive damages in an amount
seneerebine to punish or make an example of Defendants and to deter such conduct in the
future, which amount will be proved at trial.

SECOND CAUSE OF ACTION

(Publication of Private Facts as Against All Defendants)

41. Plaintiff repeats, re-alleges, adopts and incorporates each and every allegation
contained in Paragraphs | through 30, inclusive as though fully set forth herein.

42. Defendants disclosed to the public the contents of the confidential Video
depicting Plaintiff engaged in private consensual sexual relations with a woman in a private
bedroom. Defendants knew, or should have known, that the Video contained private and
confidential information, and that Plaintiff had a reasonable expectation of privacy in
engaging in the sexual relations with a woman in a private bedroom, and that the Video,
taken without Plaintiff’s knowledge or consent, would reveal private and personal things
about Plaintiff which Defendants had no right to disseminate, disclose or exploit, and that the
publication of these private facts would be offensive and objectionable to a reasonable person

of ordinary sensibilities.

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43. Defendants’ posting, publishing, distributing, disseminating and exploiting of
Plaintiff engaged in sexual relations in private quarters was not carried out for reasonable or
legitimate purposes. Plaintiff had a inespontte expectation of privacy in having private
consensual sexual relations with a woman in a private bedroom, and had no knowledge of,
and did not consent to, the recording of such private sexual mituity,

44. The unauthorized publication by Defendants of the Video, Video Excerpts
and/or any portions or content thereof, is offensive and objectionable to Plaintiff, as well as
to any reasonable person of ordinary sensibilities, and is not of legitimate public concern.
Plaintiff did not consent to any use, distribution or exploitation by Defendants, or any other
persons or entities, of the Video, Video Excerpts or any portions or content thereof,
whatsoever.

45. Defendants knew or should have known that the Video, Video Excerpts and/or
any portions or content thereof, contained private and confidential information, and that
Plaintiff had a reasonable expectation of privacy in the sexual activities depicted therein, and
that Defendants’ ceaiedast would reveal private and personal things about Plaintiff which
Defendants had no right to disseminate, disclose or exploit, and that the publication of these
private facts would constitute a clear and egregious violation of Plaintiff's right of privacy.

46. Defendants violated Plaintiffs fundamental privacy rights by the conduct
alleged herein, including the outrageous intrusion into Plaintiff's privacy and the publication,
dissemination, exploitation of the Video, Video Excerpts and/or any portions or content

thereof, in an unprivileged manner calculated to financial capitalize therefrom and garner

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publicity throughout the world, to unjustly enrich Defendants and in conscious disregard of ©
Plaintiff s right of privacy.

47. Plaintiff is informed and believes and thereon alleges that Defendants acted
with actual malice and reckless disregard for Plaintiff's right of privacy.

48. Defendants have continued to invade Plaintiff's right of privacy by continuing
to disseminate and post the Video Excerpts and Gawker Story. Unless and until enjoined and
restrained by order of this Court, Defendants’ continued iets will outs Plaintiff to continue
to incur severe and irreparable injury that cannot adequately be compensated by monetary
damages. By reason of the foregoing, Plaintiff is entitled to a temporary restraining order
and preliminary and permanent injunctive relief enjoining the distribution, dissemination and
use of the Video, Video Excerpts, and all portions and content therefrom, including without
limitation all still images thereof.

49. As a direct and proximate result of the aforementioned acts by Defendants,
Plaintiff has suffered injury, damage, loss, harm, anxiety, embarrassment, humiliation,
shame, and severe emotional distress in an amount subject to proof, but believed to be at least
One Hundred Million Dollars ($100,000,000.00).

50.  Plaintiffis informed and believes and on that basis alleges that the
aforementioned acts of Defendants were done intentionally or with a conscious disregard of
Plaintiff's rights, and with the intent to vex, injure or annoy, such as to constitute oppression,
fraud, or malice, thus entitling Plaintiff to exemplary and punitive damages in an amount
appropriate to punish or make an example of Defendants and to deter such conduct in the

future, which amount will be proved at trial.

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THIRD CAUSE OF ACTION

(Violation of Florida Common Law Right of Publicity Against All Defendants)

51. Plaintiff repeats, re-alleges, adopts and incorporates each and every allegation
contained in Paragraphs | through 30, inclusive as though fully set forth herein.

52. Plaintiff is a professional wrestler, motion picture actor, and television
personality who has enjoyed mainstream popularity as the character “Hulk Hogan.” Plaintiff
is a twelve time world wrestling champion. Plaintiff has devoted a tremendous amount of
time and effort developing his career and developing his universal goodwill, reputation and
brand. Such efforts have created considerable commercial value in his name, image, identity
and persona.

53. Defendants’ unauthorized use of Plaintiff's name, image, identity and persona
in connection with the Video Excerpts constitutes a violation and misappropriation of
Plaintiff's right of publicity in that Defendants misappropriated Plaintiff's name, likeness,
image, identity and persona by using the Video Excerpts for the purpose of commercial gain,
without Plaintiffs consent.

54. The misappropriation of Plaintiff's publicity nghts was for Defendants’
advantage in that Plaintiffs name, likeness, image, identity and persona were used and
intended to create and enhance Defendants’ SEER Rite gain and profit.

55. Defendants have continued to use Plaintiffs publicity rights continuing to
disseminate the Video Excerpts at the Gawker Site, notwithstanding Plaintiff's numerous and
repeated requests to Gawker Media and defendant Denton that they cease and desist

immediately and permanently. Unless and until enjoined and restrained by Order of this

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Court, Defendants’ continued acts will cause Plaintiff severe and irreparable injury which
cannot be adequately compensated by monetary damages. Plaintiff is entitled to a temporary
restraining order and preliminary and permanent injunctive relief enjoining the publication,
distribution, dissemination and use of the Video, Video Excerpts, and all portions and content
therefrom, including without limitation all still images thereof.

56. Asadirect and proximate result of the aforementioned acts by Defendants,
Defendants have earned profits attributable to this unauthorized commercial use and
exploitation of Plaintiff's name, image and likeness. The amount of such ill-gotten gains had
yet to be ascertained. Plaintiff is entitled to recover all said unjust enrichment, including all
profits earned by Defendants as a result of Defendants’ unauthorized commercial
exploitation as herein alleged.

57. | Moreover, Plaintiff is entitled to seek and hereby does seek the market value
of the use of his publicity rights in the manner in which they were commercially exploited,
without Plaintiff s permission and sigitiat his strenuous objections and legal demands.

58. Asadirect and proximate result of the aforementioned acts by Defendants,
Plaintiff has suffered injury, damage, loss, harm, anxiety, embarrassment, humiliation,
shame, and severe emotional distress in an amount subject to proof, but believed to be at least
One Hundred Million Dollars ($100,000,000.00).

59.  Plaintiffis informed and believes and on that basis alleges that the
ekeezentioned acts of Defendants were done intentionally or with a conscious disregard of
Plaintiff's rights, and with the intent to vex, injure or annoy, such as to constitute oppression,

fraud, or malice, thus entitling Plaintiff to exemplary and punitive damages in an amount

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appropriate to punish or make an example of Defendants and to deter such conduct in the
future, which amount will be proved at trial.

FOURTH CAUSE OF ACTION

(Intentional Infliction of Emotional Distress Against All Defendants)

60. Plaintiff repeats, re-alleges, adopts and incorporates each and every allegation
‘contained in Paragraphs 1 through 30, inclusive as though fully set forth herein.

61.  Atall times herein, Defendants acted intentionally and unreasonably in
publishing, distributing and disseminating the Video Excerpts when they knew or should
have known that emotional distress would likely result. Notwithstanding Plaintiffs repeated
requests that Defendants cease and desist immediately from their posting and publishing of
the Video Excerpts, Defendants failed and refused to do so. As such, in doing the acts
alleged hereinabove, Defendants acted outrageously and beyond all reasonable bounds of
decency, and intentionally inflicted severe emotional distress upon Plaintiff, to his detriment.

62. Defendants’ conduct was intentional and malicious and done for the purpose
of causing, or was known by Defendants to likely cause, Plaintiff humiliation, mental
anguish and severe emotional distress and was done with the wanton and reckless disregard
of the consequences to Plaintiff.

63. As a proximate result of the aforementioned wrongful conduct, Plaintiff has
suffered severe emotional distress, anxiety and worry.

64. Plaintiff is informed and believes and thereon alleges that Defendants acted

with actual malice and reckless disregard of Plaintiff's rights.

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65. Defendants are continuing their intentional infliction of emotional distress
upon Plaintiff. Unless and until enjoined and restrained by order of this Court, Defendants’
continued acts will cause Plaintiff to continue to incur severe and irreparable injury that
cannot adequately be compensated by monetary damages. By reason of the foregoing,
Plaintiff is entitled to a temporary restraining order and preliminary and permanent injunctive
relief enjoining the distribution, dissemination and use of the Video, Video Excerpts, and all
portions and content therefrom, including without limitation still images thereof.

As a direct and proximate result of the aforementioned acts by Defendants, Plaintiff has
suffered injury, damage, loss, harm, anxiety, embarrassment, humiliation, shame, and severe
emotional distress in an amount subject to proof, but believed to be in not less than One
Hundred Million Dollars ($100,000,000.00).

66. Plaintiff is informed and believes and on that basis alleges that the
aforementioned acts of Defendants were done intentionally or with a conscious disregard of
Plaintiff's rights, and with the intent to vex, injure or annoy, such as to constitute oppression,
fraud, or malice, thus entitling Plaintiff to exemplary and punitive damages in an amount
appropriate to punish or make an example of Defendants and to deter such conduct in the
future, which amount will be proved at trial.

FIFTH CAUSE OF ACTION

(Negligent Infliction of Emotional Distress Against All Defendants)
67, Plaintiff repeats, re-alleges, adopts and incorporates each and every allegation

contained in Paragraphs | through 30, inclusive as though fully set forth herein.

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68.  Atall times herein, Defendants acted negligently and unreasonably in
publishing, distributing and disseminating the Video Excerpts. Notwithstanding Plaintiffs
repeated requests that Defendants cease and desist immediately from their posting and
publishing of the Video Excerpts, Defendants failed and refused to do so. As such, in doing
the acts alleged hereinabove, Defendants acted outrageously and beyond all reasonable
bounds of decency, and inflicted emotional distress upon Plaintiff, to his detriment.

69. Defendants’ conduct caused Plaintiff humiliation, mental anguish and
emotional distress and was done without regard for the consequences to Plaintiff.

70. Asaproximate result of the aforementioned wrongful conduct, Plaintiff has
suffered severe emotional distress, anxiety and worry.

71. Plaintiff is informed and believes and thereon alleges that Defendants acted
with actual malice and reckless disregard of Plaintiff's rights.

72. Defendants are continuing their infliction of emotional distress upon Plaintiff.
Unless and until enjoined and restrained by order of this Court, Defendants’ continued acts
will cause Plaintiff to continue to incur severe and irreparable injury that cannot adequately
be compensated by monetary damages. By reason of the foregoing, Plaintiff is entitled to a
temporary restraining order and preliminary and permanent injunctive relief enjoining the
distribution, dissemination and use of the Video, Video Excerpts, and all portions and content
therefrom, including without limitation still images thereof.

73. Asadirect and proximate result of the aforementioned acts by Defendants,
Plaintiff has suffered injury, damage, loss, harm, anxiety, embarrassment, humiliation,

shame, and severe emotional distress.

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PRAYER FOR RELIEF

WHEREFORE, plaintiff Terry Gene Bollea prays for judgment against defendants
Gawker Media, LLC aka Gawker Media; Gawker Media Group, Inc. aka Gawker Media;
Gawker Entertainment, LLC; Gawker Technology, LLC; Gawker Sales, LLC; Nick Bech:
A.J. Daulerio; Kate Gennert, Blogwire Hungary Szellemi Alkotast Hasznosito KFT aka
Gawker Media, and each of them, jointly and severally, as follows:

AS TO THE FIRST THROUGH FOURTH CAUSES OF ACTION

c. For an award of general and special damages in an amount not less than One
Hundred Million Dollars ($100,000,000.00), together with interest thereon at the maximum
legal rate;

Ze For exemplary and punitive damages in an amount appropriate to punish and
set an example of Defendants, and to deter such conduct in the future, the exact amount of
such damages is subject to proof at trial;

AS TO ALL CAUSES OF ACTION

2. For a preliminary and permanent injunction against Defendants, and all
persons acting on their behalf or under their control, from any and all activity that would
cause or have the effect of distributing, disseminating, publishing, displaying, posting for
view or access on or through the Internet or any other manner or media outlet, broadcasting,
transferring, licensing, selling, offering to sell or license, or otherwise using, exploiting or

attempting to exploit, the Video or any portions or content thereof or any copies thereof,

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including without limitation the Video Excerpts, in any and all formats and media, including
all electronic and physical media;

4, For a Judgment and Order transferring to Plaintiff any and all of Defendants’
right, title and interest in and to the Video, and all portions and content thereof, including
without limitation the Video Excerpts,;

a For a Judgment and Order requiring the delivery to Plaintiff all copies of the
Video, and all portions and content thereof, including without limitation the Video Excerpts,
in all formats and all forms of media, including electronic and physical media, within
Defendants’ possession, custody or control, including without limitation turning over to
Plaintiff any and all storage devices (such as CDs, DVDs, hard drives, flash drives, tapes, and
disks) containing same;

6. For a Judgment and Order requiring Defendants to turn over to Plaintiff all
information iene to the Video and Video Excerpts, including without limitation, all
activity by all persons and entities related to the creation, storage, transportation, editing,
distributing, disseminating, publishing, displaying, posting for view or access on or through
the Internet or any other manner or media outlet, broadcasting, transferring, licensing,
selling, offering to sell or license, or otherwise using, exploiting or attempting to exploit, the
Video or any portions or content thereof or any copies thereof, including without limitation
the Video Excerpts, in any and all formats and media, including all electronic and physical
media.

Ve For a constructive trust to be placed upon Defendants and all persons acting

on their behalf or under their direction or control, as to all revenues and profits received by

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any such individuals, including Defendants, to be held for the benefit of Plaintiff, and to be
disgorged in their entirely to Plaintiff.
8. For such other and further relief as to this court may deem and proper.

DEMAND FOR JURY TRIAL

Pursuant to Fed.R.Civ.P. Rule 38 and the Seventh Amendment to the United States
Constitution, plaintiff Terry Gene Bollea hereby demands a trial by jury on all issues so
triable.

Respectfully Submitted,

DATED: October 15, 2012 Heep on behullod
/s/ E. Colin Thompson

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DATED: October 15, 2012

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